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NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 1:22-mj-00133


RYAN KELLEY
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED          9     FEDERAL PUBLIC DEFENDER


                                              /s/ Gary K. Springstead
                                                                (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:

                                          Gary K. Springstead, MI State Bar No. P59726
                                                        (Attorney & Bar ID Number)
                                          Springstead Bartish Borgula & Lynch Law
                                                               (Firm Name)
                                          60 Monroe Center St. NW Suite 500
                                                             (Street Address)
                                          Grand Rapids, MI 49503
                                           (City)               (State)          (Zip)
                                          (616) 458-6007
                                                           (Telephone Number)
